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    Arjeta Albani Esq.
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                                                        January 30, 2025

 VIA ECF
 The Honorable Arun Subramanian
 United States Magistrate Judge
 Southern District of New York
 Daniel Patrick Moynihan
 United States Courthouse
 500 Pearl Street
 New York, New York 10007

               Re: Primitivo Robles v. Two Buds Enterprise, Inc., d/b/a Two Buds Dispensary
                   1:24-cv-07586(AS)

 Honorable Judge Subramanian,

         We represent Plaintiff, Primitivo Robles in the above-referenced Americans with Disabilities
 Act (ADA) matter, currently pending in the Southern District of New York. Pursuant to this Court’s
 Order dated January 17, 2025, Plaintiff was instructed to seek default against Defendant within two
 weeks. However, yesterday, January 29, 2025, we were contacted by the Defendant and have begun
 preliminary discussions about settlement and litigation in this matter. Defendant has not yet retained
 the services of counsel.

        We respectfully request an adjournment of Plaintiff’s time to move for default and Defendant’s
 time to Answer for an additional 30 days to allow the parties to either continue settlement
 discussions or to afford Defendant time to retain counsel and interpose an answer.

         Thank you for your time and consideration.

                                                             Sincerely,
SO ORDERED. The Clerk of Court is respectfully
                                                             JON L. NORINSBERG, ESQ., PLLC
directed to terminate the motion at ECF No. 16.



                                                             Arjeta Albani, Esq.
Arun Subramanian, U.S.D.J.                                   Attorneys For Plaintiff
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